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 5
 6   Attorney for Defendant
     MARY JENNIFER BERG
 7
 8
 9                        IN THE UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:05-CR-00308 EJG
                                     )
14                  Plaintiff,       )
                                     )       STIPULATION AND ORDER
15        v.                         )       MODIFYING RELEASE CONDITIONS
                                     )       FOR DEFENDANT MARY JENNIFER BERG
16   LOUIS WAYNE FOWLER at al.,      )
                                     )
17                  Defendants.      )
                                     )       Judge: Hon. Edmund F. Brennan
18   _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendant Mary Jennifer Berg, through their respective
22   attorneys, that the conditions of Ms. Berg’s pretrial release may be
23   modified to include a special condition that she participate in a program
24   of medical or psychiatric counseling or treatment as approved by the
25   Pretrial Services Officer.
26   /////
27   /////
28   /////
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 1         Defense counsel seeks this condition on behalf of Ms. Berg after
 2   consultation with the Pretrial Services Officer, who agrees that the
 3   condition is appropriate and who recommends it.
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7   Dated:      July 22, 2008                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
 8                                             Assistant Federal Defender
                                               Attorney for MARY JENNIFER BERG
 9
10                                             McGREGOR SCOTT
                                               United States Attorney
11
12   Dated:      July 22, 2008                 /s/ T. Zindel fo W. Wong
                                               WILLIAM S. WONG
13                                             Assistant U.S. Attorney
14
15                                         O R D E R
16         The    proposed   special    release     condition   requiring     medical   and
17   psychiatric treatment as directed by Pretrial Services is adopted as a
18   condition of the release of defendant Mary Jennifer Berg.                  All other
19   conditions remain in force.
20         IT IS SO ORDERED.
21   Dated:      July 22, 2008
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     Stip. & O. re M. Berg Release Cond.      -2-
